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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

MANANT VAIDYA, Individually and as
Personal Representative of the Estate of KOSHA
VAIDYA, deceased,

                          Plaintiff,               No._________________

      v.

THE BOEING COMPANY, a Delaware
corporation; ROSEMOUNT AEROSPACE,
INC., a Delaware corporation;

                          Defendants.



                                COMPLAINT AT LAW
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       Plaintiff MANANT VAIDYA, Individually and as Personal Representative of the Estate

of KOSHA VAIDYA, deceased, brings this action for damages on behalf of KOSHA VAIDYA,

her estate, heirs, and survivors against Defendants THE BOEING COMPANY (“BOEING”)

and ROSEMOUNT AEROSPACE, INC. (“ROSEMOUNT”) as follows:

                                      I.   INTRODUCTION

       1.      This action arises from the horrific crash of Ethiopian Airlines Flight 302 (“Flight

302”) on March 10, 2019 in which 157 people lost their lives. The aircraft involved in Flight 302

was a Boeing 737 MAX 8. This crash came less than five months after Lion Air Flight JT 610 –

another Boeing 737 MAX 8 – crashed into the Java Sea on October 29, 2018, killing all 189

onboard.

       2.      Investigation into both crashes is ongoing, but the similarities in the aircraft and the

investigative findings for the crashes thus far points to a common cause. Shortly after taking off

and while attempting to climb, pilots for both aircraft reported flight control issues as the planes

pitched up and down erratically throughout the sky. The flight paths and data released thus far for

both aircraft show that the pilots were engaged in a terrifying tug-of-war with the plane’s

automated systems as the pilots manually tried to climb while the computer system repeatedly

caused the plane to dive with increasing nose-down trim against the pilot inputs. Pilots of both

Flight 302 and Flight 610 lost their fight with BOEING’s flight computer, and hundreds of

passengers and crew lost their lives due to BOEING’s flight computer driving the airplanes into

the ground.




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                           The Wreckage of Ethiopian   Airlines Flight 302

       3.      BOEING installed the defective flight control system suspected to be the cause of

both crashes to address changes in the aircraft’s handling caused by the 737 MAX 8 aircraft’s

larger and more fuel-efficient engines. Both the design changes boosting fuel efficiency and the

unsafe way in which BOEING designed and certified the flight control system were tools to make

the 737 MAX 8 aircraft more competitive against rivals like the Airbus A320, which would in turn

increase BOEING’s sales and profits.

       4.      Blinded by its greed, BOEING haphazardly rushed the 737 MAX 8 to market, with

the knowledge and tacit approval of the United States Federal Aviation Administration (“FAA”),

while BOEING actively concealed the nature of the automated system defects. Numerous

decisions by BOEING’s leadership substantially contributed to the subject crash and demonstrate

BOEING’s conscious disregard for the lives of others, including but not limited to BOEING’s

role in: designing an aircraft with a powerful automated flight control system susceptible to

catastrophic failure in the event a single defective sensor; failing to properly inform pilots of the

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existence of the new flight control system and educate and train them in all aspects of its operation;

failing to properly address the new system in the aircraft’s flight manual; refusing to include key

safety features as standard in the aircraft rather than optional upgrades; delivering 737 MAX 8

aircraft with a version of the flight control system that was materially different from the version

presented to the FAA during certification; and failing to take appropriate action after BOEING

learned that the 737 MAX 8 aircraft was not performing as intended or safely, as was made

tragically clear with the crash of Lion Air Flight JT 610.

       5.      BOEING’s decision to put profits over safety is further evident in BOEING’s

repeated claims that the 737 MAX 8 is so similar to its earlier models that it does not require

significant retraining for those pilots familiar with the older generation of 737s. BOEING has

insisted that retraining is not required, even after Lion Air Flight 610 crashed, because airlines

would buy fewer BOEING aircraft if pilots needed to be retrained. In so doing, BOEING risked

people’s lives merely to improve its bottom line and must pay punitive damages to punish and

deter BOEING, and others, from doing so again.

       6.      Equally culpable in the tragic loss of life, the FAA approved and/or certified

BOEING’s design for its new aircraft despite its substantial flaws because the FAA had

negligently hired and/or trained its employees, and it knew or should have known that their

employees were unfit to perform their job duties and responsibilities, including implementing and

executing inspections and testing of the 737 MAX 8; and that a catastrophic plane crash was a

foreseeable consequence. Further, after the initial Lion Air Flight 610 crash, the FAA negligently,

recklessly, and/or unlawfully provided incomplete and inadequate warnings to pilots, passengers,

and the public that severely understated and downplayed the serious known safety risk associated

with continued flight of the 737 MAX 8. Moreover, it characterized the FAA airworthiness

directive as a “non-emergency” that would address and fix the known problem, all of which

                                                  3
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Plaintiff’s decedents and other passengers on Flight 302 relied on to their detriment, being duped

into a false sense of security about riding on a 737 MAX 8. Sadly, these two entirely preventable

airline crashes demonstrate that the FAA is ill-equipped to oversee the aerospace industry and will

downplay serious hazards and safety risks to the public rather than sound the alarm about safety

concerns, problems, issues and hazards that pose substantial, probable, and/or foreseeable risks to

human life. BOEING and the regulators that enabled it must be held accountable for their reckless

actions.

                              II.    JURISDICTION AND VENUE

       7.      This Court has subject matter jurisdiction of this case pursuant to 28 U.S.C. §

1331(a) in that this matter arises under the laws and treaties ratified by the United States, including

but not limited to the Convention for the Unification of Certain Rules for International Carriage

by Air (“Montreal Convention”). This flight involves the international carriage of passengers

between Ethiopia and Kenya, both of whom are signatories to the Montreal Convention, which

specifically removes limitations on damages.

       8.      The Court also has subject matter jurisdiction of this dispute pursuant to 28 U.S.C.

§ 1332, as this case involves a dispute between Plaintiff, a Canadian citizen domiciled in Ontario,

and Defendant corporations based in the State of Illinois, and the amount in controversy exceeds

the jurisdictional minimum of this Court.

       9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendant

BOEING is a resident of this District and a substantial part of the events or omissions giving rise

to the claim occurred in this District. Key decisions were made by BOEING’s corporate leadership

in Chicago, including those decisions regarding the development of the 737 MAX, certification of

the aircraft, disclosures to airlines, and BOEING’s actions and response in the wake the Lion Air

Flight JT 610 crash.
                                                  4
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                                       III.    THE PARTIES

        A.      PLAINTIFF

        10.     Decedent KOSHA VAIDYA (“DECEDENT”) was a passenger on board Ethiopia

Flight 302 when it crashed on March 10, 2019. Plaintiff MANANT VAIDYA is the next of kin of

DECEDENT, and is the Personal Representative of the Estate of KOSHA VAIDYA, on her

behalf and the behalf of her estate, heirs, survivors, and beneficiaries (“PLAINTIFF”). Both

DECEDENT and PLAINTIFF were/are citizens of Canada with their principal and permanent

residence in the Province of Ontario.

        B.      DEFENDANTS

        11.     At all times herein mentioned Defendant THE BOEING COMPANY is a

Delaware corporation with its principal place of business in the State of Illinois. BOEING is, and

at all relevant times was, registered with the Illinois Secretary of State as doing business in Illinois,

and it does business in Illinois and in this Judicial District. BOEING’s headquarters are located in

this District where the relevant decisions and omissions giving rise to this incident were made,

authorized, ratified and/or approved.

        12.     Defendant ROSEMOUNT AEROSPACE, INC. is a Delaware corporation with

its principal place of business in the State of Minnesota. ROSEMOUNT is, and at all relevant

times was, in the business of designing, manufacturing, assembling, distributing, marketing and

supplying sensors used in BOEING’s aircraft, including the particular angle of attack sensor that

failed at the time of the subject incident. ROSEMOUNT’s sensors would be embedded in aircraft

sold to airlines located all over the world and in aircraft operating all over the world.

        C.      AGENCY & CONCERT OF ACTION

        13.     At all times mentioned herein, DEFENDANTS, and/or each of them, hereinabove,

were the agents, servants, employees, partners, aiders and abettors, co-conspirators, and/or joint
                                                   5
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venturers of each of the other DEFENDANTS named herein and were at all times operating and

acting within the purpose and scope of said agency, service, employment, partnership, enterprise,

conspiracy, and/or joint venture, and each DEFENDANT has ratified and approved the acts of

each of the remaining DEFENDANTS. Each of the DEFENDANTS aided and abetted,

encouraged, and rendered substantial assistance to the other DEFENDANTS in breaching their

obligations to PLAINTIFF as alleged herein. In taking action to aid and abet and substantially

assist the commission of these wrongful acts and other wrongdoings complained of, as alleged

herein, each of the DEFENDANTS acted with an awareness of his/her/its primary wrongdoing

and realized that his/her/its conduct would substantially assist the accomplishment of the wrongful

conduct, wrongful goals, and wrongdoing.

                                IV.   STATEMENT OF FACTS

       A.      THE BOEING COMPANY RUSHED THE BOEING 737 MAX 8 TO
               PRODUCTION

       14.     BOEING’s main competitor in the commercial aviation industry is Airbus. Airbus

had been increasing market share for decades and eating into BOEING’s sales. When Airbus

launched its more fuel-efficient airliner, the A320neo, BOEING initially dismissed its anticipated

appeal with airlines.

       15.     The chief executive of BOEING’s commercial airplanes division, James F.

Albaugh, told employees at a meeting in January 2011 that Airbus’ decision to redesign its existing

aircraft with larger engines would be “a design change that will ripple through the airplane” and

present significant challenges. 1




       1
          David Gelles, Natalie Kitroeff, Jack Nicas, and Rebecca R. Ruiz, “Boeing 737 Max: A
jet born of a frantic race to outdo a rival,” New York Times, March 24, 2019.
                                                6
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       16.       BOEING’s tune changed when it learned that some of its key customers, including

American Airlines, would be placing orders with Airbus for their fuel-efficient aircraft. This

ratcheted up pressure on BOEING to respond. Since the design of an entirely new jet would take

too long, BOEING decided to create a more fuel-efficient alternative to its traditional 737NG

aircraft – what would become the 737 MAX 8.

       17.       A former senior BOEING official reported that the company opted to build the 737

MAX 8, rather than an entirely new aircraft, because it would be “far quicker, easier and cheaper

than starting from scratch, and would provide almost as much fuel savings for airlines.” 2

       18.       In August 2011, BOEING launched the 737 MAX family of aircraft, a new

iteration of the widely-used 737NG, designed to compete with Airbus’ A320neo. In designing the

737 MAX 8, it was vital to BOEING’s leadership that it could market the aircraft as simply an

upgrade to its already certified 737NG and obtain regulatory approval from the FAA permitting

pilots to operate the 737 MAX 8 aircraft without extensive simulation time or retraining.

       19.       On information and belief, the decision to design an aircraft which would obtain

certification from the FAA, without the need for pilot retraining and the ambitious timeline for

completion of the 737 MAX 8, was made by BOEING corporate leadership at its headquarters in

Chicago.

       20.       Rick Ludtke, an employee at BOEING for 19 years and an engineer who helped

design the 737 MAX 8 cockpit explained that “[a]ny designs we created could not drive any new

training that required a simulator.” That was the first ground rule communicated to engineers

designing the MAX. This created a chaotic environment for engineers. As Ludtke described: “The

company was trying to avoid costs and trying to contain the level of change. They wanted the




       2
           Id.
                                                 7
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minimum change to simplify the training differences, minimum change to reduce costs, and to get

it done quickly.” 3

        21.       The need to minimize design changes served an important business need for

BOEING. If airline pilots did not require costly and time-consuming training in the new aircraft

because it was viewed as merely an update to the familiar 737NG, it would make the 737 MAX 8

cheaper for airlines to operate. This in turn would make the price for the 737 MAX 8 more

competitive relative to the Airbus A320neo and far more profitable for BOEING.

        22.       Thus, BOEING needed the 737 MAX 8 aircraft to be more fuel efficient and also

handle similarly to the 737NG. The MAX aircraft was able to achieve this new fuel efficiency, in

part, due to the model’s larger engines, the CFM LEAP-1B Engine. However, adding the larger

engines triggered cascading design and engineering changes for the aircraft, the same ripple of

changes James Albaugh, BOEING’s commercial airplanes chief executive, had predicted back in

2011 when criticizing Airbus’ A320neo.

        23.       The larger engines could not be mounted in the same location as the engines on the

737NG so they had to be moved farther forward on the plane, which in turn required moving the

forward landing gear. The more powerful engines, coupled with their new location, caused the 737

MAX 8 to handle differently from the 737NG by changing the plane’s lift characteristics. A 737NG

pilot operating the 737 MAX 8 would find that the 737 MAX 8 would ascend faster and at a higher

angle, increasing the risk of a stall.

        24.       As BOEING’s business leaders required engineers to contain the level of change

to avoid pilot retraining and make the 737 MAX 8 more marketable, BOEING now needed to




        3
            Id.
                                                  8
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engineer a band-aid to fix the aircraft’s handling issues created by the larger and more powerful

engines.


       B.      BOEING INTRODUCED A FLIGHT CONTROL SYSTEM WHICH
               ADDRESSED ONE PROBLEM BUT CREATED ANOTHER

       25.     To address this risk of a stall and to make the plane handle like prior models of the

737, BOEING included a new automated flight-control system in the MAX aircraft, the

Maneuvering Characteristics Augmentation System (MCAS).

       26.     The MCAS collected data from a single sensor on the fuselage called the angle-of-

attack sensor (“AOA sensor”) which measures the angle between the wing of the plane on the

oncoming airflow at the front of the plane. 4 If the AOA sensor registers that the angle is too high

– that the plane is climbing too sharply – then the MCAS activates, automatically swiveling the

horizontal tail of the plane to move the plane’s nose down, as can be seen on the following graphic:




       4
         On information and belief, the AOA sensor onboard the BOEING 737 MAX involved
in both Flight 610 and Flight 302 was designed, tested, engineered, and manufactured by
Defendant ROSEMOUNT.
                                                 9
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        27.     The MCAS was not programmed to use data from both of the airplane’s AOA

sensors to help validate the AOA data and protect against single point failures. This meant that if

the single AOA sensor used as input to the MCAS malfunctioned and erroneously believed the

plane was climbing too quickly, then there was no means of detecting its erroneous condition and

excluding that data prevent the MCAS from improperly intervening and forcing the plane to dive.

        28.     The MCAS was intended to automatically adjust the pitch of the plane to avoid

stalling with the MAX’s more powerful engines when the plane was being controlled manually by

the pilot. The pilot would not need to manually activate the MCAS, nor would the aircraft inform

the pilot that the MCAS system was making pitch trim inputs.

        29.     Since the MCAS was intended to operate in the background without pilot

knowledge, BOEING did not even inform pilots that the MCAS existed. The MCAS was not

disclosed in the aircraft’s flight manual either. Pilots would only learn indirectly about the MCAS

when the plane began automatically fighting their pitch commands, often at low altitudes with

little time to react and resolve the issue.

        30.     A BOEING executive met with pilots’ union representatives in November 2018,

after the Lion Air crash. According to pilot Dennis Tajer who was in attendance, BOEING

executives tried to excuse their failure to disclose this system by explaining that they did not wish

to “inundate” pilots with too much information about the new plane. 5 Frustrated, pilot unions have

described BOEING’s actions in failing to disclose the software as a “break of trust.” 6




        5
          https://www.nytimes.com/2019/03/16/business/boeing-max-flight-simulator-ethiopia-
lion-air.html
        6
          Id.
                                                 10
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        C.     THE FEDERAL AVIATION ADMINSTRATION FAILED TO PROPERLY
               HIRE AND TRAIN ADEQUATE TECHNICAL STAFF TO
               COMPETENTLY PERFORM AND FULFILL ITS INSPECTION AND
               TESTING OBLIGATIONS

        31.    As one sign of how under-resourced and ill-equipped FAA staff were to evaluate

the 737 MAX 8’s features, the FAA relied heavily on BOEING to validate the safety of its own

aircraft. In 2005, the FAA adopted the Organization Designation Authorization (“ODA”), allowing

BOEING to designate its own employees who will approve design work on the FAA’s behalf.

        32.    Even with this delegation of responsibility by the FAA to BOEING, the

Department of Transportation auditors in 2012 found that the FAA had not done enough to “hold

Boeing accountable,” presumably because FAA employee were ill-equipped, under-qualified,

and/or insufficiently trained to actually perform this necessary job function and responsibility. This

is confirmed by a later 2015 report from the Department of Transportation’s inspector general,

which faulted the FAA for lacking “an effective staffing model” and “risk-based oversight

process.” 7

        33.    Further, FAA employees reported poor morale and disagreement relating to the

FAA’s treatment of BOEING, and fear of retaliation if they spoke up. 8

        34.    As it was ceding more and more of its regulatory authority to BOEING, the FAA

conducted its certification of the 737 MAX 8, with the aircraft finally certified on March 9, 2017.

However, due to the under-qualified and insufficiently trained nature of the FAA staff, the

certification process was proceeding slower than BOEING desired and FAA technical experts

reported receiving pressure from management to speed up certification of the MAX aircraft




        7
        Id.
        8
        https://www.bloomberg.com/news/articles/2019-03-18/boeing-had-too-much-sway-
checking-own-planes-faa-workers-warned
                                                 11
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because the development of the MAX was nine months behind Airbus’ A320neo. 9 Without time,

resources, and/or the proper tools to carefully scrutinize the safety of the 737 MAX 8, the FAA

knew or should have known the serious safety implications of failing to retain fit staff and failing

to properly equip and/or train its staff to competently perform its job.

       35.     It is clear management at the FAA knew that its technical staff was ill-equipped,

under-qualified, and/or insufficiently trained to handle inspections and testing of the 737 MAX 8

because it recognized that it had “retained too much” work internally and pressured FAA safety

engineers to re-evaluate what was delegated to BOEING relating to certification of the 737 MAX

8. As recounted to the Seattle Times by a former FAA safety engineer who was directly involved

in certifying the MAX, halfway through the certification process, “we were asked by management

to re-evaluate what would be delegated. Management thought we had retained too much at the

FAA.” 10

       36.     While more and more work was being delegated to BOEING for it to evaluate

itself, the work that was retained by the FAA was still not being done properly because its technical

staff was ill-equipped, under-qualified, and/or insufficiently trained. The former FAA engineer

went on to tell the Seattle Times that “[t]here wasn’t a complete and proper review of the

documents.” 11 As BOEING was running out of time to deliver the 737 MAX 8 to airlines, FAA

managers in some instances would sign off on documents themselves without waiting for the FAA

technical staff to complete their review.

       37.     Therefore, the FAA approved and/or certified BOEING’s design, production,

and/or manufacturing for its new aircraft despite its substantial flaws because the FAA had



       9
         Id.
       10
          https://www.seattletimes.com/business/boeing-aerospace/failed-certification-faa-
missed-safety-issues-in-the-737-max-system-implicated-in-the-lion-air-crash/
       11
          Id.
                                                 12
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negligently hired and/or trained its employees, and it knew or should have known that if its

employees were unfit to perform and/or could not competently perform their job duties and

responsibilities, including implementing and executing inspections and testing of the 737 MAX 8,

that a catastrophic plane crash would foreseeably result.


       D.      BOEING’S LEADERSHIP CREATED A CULTURE PUTTING PROFITS
               OVER SAFETY

       38.     In the mad rush to get the MAX 8 certified and orders filled to airlines, BOEING

leadership placed enormous pressure on its engineers to produce a finished product. The New York

Times interviewed several of the engineers and designers working on the MAX, who described

this frantic pace of the MAX’s development:

       a.      An engineer working on the MAX said that “[t]he timeline was extremely

               compressed … It was go, go, go.” 12

       b.      A former designer working on the MAX’s flight controls described how the design

               team had at times produced 16 technical drawings a week, double the normal rate.

               The designer understood the message from management to be: “We need something

               now.” 13

       c.      A technician who assembles wiring on the MAX said that he received sloppy

               blueprints in the first few months of development and was told that the instructions

               for the wiring would be cleaned up later in the process. However, his internal

               assembly designs for the MAX apparently still include omissions today, such as not

               specifying which tools to use to install a certain wire, a situation that could lead to




       12
         New York Times, Boeing 737 Max: A jet born of a frantic race to outdo a rival; by
David Gelles, Natalie Kitroeff, Jack Nicas, Rebecca R. Ruiz, March 24, 2019.
      13
         Id.
                                                 13
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                  a faulty connection. This is quite different from standard procedures because

                  normally such blueprints include intricate instructions. 14

       39.        On information and belief, the unreasonable expectations placed on engineers and

designers by the corporate business leadership centered in Chicago created an environment at

BOEING’s facilities which was ripe for mistakes and wherein employees were reluctant to raise

concerns that may delay certification and production of the MAX.

       40.        A lawsuit filed in state court in South Carolina on March 16, 2019 by a former

BOEING Quality Assurance Conformity Manager, calls into question the integrity of BOEING’s

testing and inspections procedures. This manager was tasked with inspecting all newly

manufactured aircraft for compliance with internal engineering and safety specifications. Each

incidence of non-conformity that BOEING inspectors encounter is supposed to be documented by

BOEING as well as all repairs and subsequent inspections.

       41.        According to the manager’s complaint, at one of BOEING’s manufacturing plants,

BOEING agents and/or employees engaged in improper conduct including:

       a.         “Goldplating” which is repeating a test until it is successful and then having the

                  records show that the test was successful on the first attempt;

       b.         Knowingly using out of date engineering specifications;

       c.         Knowingly using uncertified technicians to perform maintenance and repairs;

       d.         Violating the internal BOEING policy and procedures that were put in place to

                  achieve final approval of each stage of production and make the plane immediately

                  saleable;




       14
            Id.
                                                    14
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       e.        Disabling the automated system that notified all pertinent employees of mandatory

                 inspections of newly manufactured aircraft; and

       f.        Submitting conformities without documented repairs.

       42.       The manager also alleges that when he tried to document non-conforming aircraft

equipment, he was threatened, retaliated against, subjected to a hostile work environment, and

eventually terminated.

       43.       On information and belief, this manager’s allegations relating to violations of safety

standards, falsified inspection records, and an environment of distrust and retaliation, are

representative of wrongful conduct and violation of safety protocols at other BOEING

manufacturing facilities. Plaintiffs further allege that these issues were known, encouraged and/or

ratified by BOEING’s leadership and contributed to a culture that suppressed voices raising the

alarm about safety in furtherance of BOEING’s profit-driven focus.


       E.        BOEING CONDUCTED A FLAWED SAFETY ASSESSMENT OF THE
                 MCAS AND FALSIFIED DATA TO THE FAA

       44.       In addition to the questions about BOEING’s design and manufacturing procedures

at the time the MAX was undergoing design and certification, the protocols for BOEING’s safety

assessment of the MCAS showed glaring errors.

       45.       The MCAS was designed to swivel the horizontal tail to push the nose of the plane

down to avert a stall. BOEING tested this system, but the safety analysis understated the power

of the system.

       46.       BOEING submitted documentation to the FAA indicating that the MCAS could

only move the horizontal tail a maximum of 0.6 degrees. However, when the MAX 8 was put into

service, the MCAS was capable of moving the tail 2.5 degrees, more than four times than the 0.6

degrees stated in the initial safety analysis provided to the FAA. The version of the MCAS that

                                                  15
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BOEING embedded in its aircraft and sold all over the world was materially different and far

more powerful than what BOEING represented to the FAA and other regulatory agencies. The

FAA did not learn that the MCAS would move the horizontal tail 2.5 degrees until after 189 people

were killed in the Lion Air crash.

       47.      The safety analysis also failed to account for how the MCAS could reset itself after

each time a pilot responded. This meant that a malfunctioning MCAS would not just cause a single

downward movement of 2.5 degrees but could dip the nose of the aircraft 2.5 degrees lower

multiple times as the pilot tries to regain control. Without correction, two cycles of the MCAS at

the 2.5-degree limit could cause the aircraft to reach its maximum nose-down trim position. Peter

Lemme, a former BOEING flight controls engineer, explained to the Seattle Times that, since the

MCAS can reset each time it is used, “it effectively has unlimited authority.” 15

       48.     Based on BOEING’s own flawed assumptions – that the MCAS’ maximum

authority was 0.6 degrees – BOEING’s System Safety Analysis classified the MCAS as a “major

failure” in normal flight and a “hazardous failure” in the event of an extreme maneuver, such as a

banked descending spiral. 16 A “major failure” indicates that the system’s failure could cause

physical distress to people on the plane, but not death. A “hazardous failure” could cause serious

or fatal injuries to a small number of passengers. One level above hazardous failure is “catastrophic

failure,” which represents the loss off the plane with multiple fatalities.

       49.     The failure classification system is important because it drives whether a flight

control system can rely on a single sensor input or must have two or three. Systems with a




       15
          https://www.seattletimes.com/business/boeing-aerospace/failed-certification-faa-
missed-safety-issues-in-the-737-max-system-implicated-in-the-lion-air-crash/
       16
          Id.
                                                  16
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consequence of failure classified as a “major failure” must have a probability of failure less than

one in 100,000. Typically, such systems are allowed to rely on a single input sensor. 17

       50.      In contrast, systems classified as “hazardous failure” have more severe

consequences of failure and therefore must have a probability of failure less than one in 10 million.

Systems classified as “hazardous failure” typically must have at least two separate input channels

as a backup in the event one sensor fails. 18

       51.      With the MCAS being classified as a “hazardous failure,” it should have had a

redundant back-up system. Instead the MCAS could be triggered by a reading from a single AOA

sensor and, once triggered, it had unlimited authority to pitch the nose of the aircraft down.

       52.      BOEING had a second AOA sensor on the airplane that it could have used to

provide redundancy and safety, and which it is now using in its MCAS software “fix” after these

two fatal accidents, but it chose not to do so during design and certification to save whatever time

and money it could. BOEING did the same thing in its design of the 737 auto-throttle system prior

to the 2009 Turkish Airlines Flight 1591 crash in Amsterdam – reliance on a single sensor input

instead of two readily available inputs – and after that accident quickly issued a software fix to

prevent recurrence. BOEING should have learned from that accident to never try to save money

via single sensor reliance on critical systems, but once again did so on the 737 MAX MCAS design,

costing DECEDENT and others their lives.

       53.      As BOEING’s former flight controls engineer, Peter Lemme, told the Seattle

Times: “A hazardous failure mode depending on a single sensor, I don’t think passes muster.” 19




       17
          Id.
       18
          Id.
       19
          Id.
                                                 17
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        54.    BOEING has repeatedly and intentionally violated this system safety design

principle and egregiously abused its FAA certification designee position to allow it to pass

certification muster, resulting in hundreds of BOEING airplane passenger deaths and injuries over

the years.


        F.     BOEING REJECTED MULTIPLE OPTIONS TO MAKE ITS PLANE
               SAFER

        55.    Despite the MCAS’ glaring flaws, BOEING had two available safety features that

could mitigate the risk of the AOA sensor failing and causing an uncontrolled dive, but consciously

chose to make these safety features optional add-ons for airlines and charge extra. One such feature

is an angle of attack indicator, which would display the readings from the AOA sensor. 20 Without

this upgrade, pilots do not have a reading of what the AOA is registering, making it more difficult

to identify an AOA malfunction.

        56.    The other safety feature is called a disagree light. The MAX 8 comes outfitted with

two AOA sensors at the front of the plane, but the MCAS only takes readings from one sensor on

any given flight, leaving the system vulnerable to a single point of failure. Upgrades to the MCAS

software coupled with the installation of a disagree light in the cockpit would alert pilots if the two

AOA sensors register readings at odds with the other.

        57.    Aviation analyst, Bjorn Fehrm, told the New York Times that these safety features

are “critical” and “cost almost nothing for the airlines to install.” 21 Upgrades to the MCAS software

could also program the system to turn off in the event the two AOA readings are materially out-

of-sync. 22




        20
           https://www.nytimes.com/2019/03/21/business/boeing-safety-features-charge.html
        21
           Id.
        22
           https://www.nytimes.com/2019/03/21/business/boeing-safety-features-charge.html
                                                  18
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       58.     Despite the potential for the AOA sensor failing and wrongfully activating the

MCAS to force the plane downward, BOEING did not install the AOA indicator or disagree light

as standard. Instead, BOEING charges a premium for these essential safety features. 23


       G.      BOEING MISREPRESENTED ITS AIRCRAFT TO PILOTS AND
               AIRLINES, DOWNPLAYING THE NEED FOR ESSENTIAL TRAINING

       59.     With the MAX 8 certified by the FAA, BOEING began delivering aircraft all over

the world starting in May 2017. The MAX 8 was an incredibly popular and profitable aircraft for

BOEING. 24

       60.     As BOEING had intended, pilots transitioning from the older 737s to the 737 MAX

8 were not required by the FAA to receive extensive training on the 737 MAX aircraft because it

obtained the same “type rating” as early 737 models. This was a primary selling point for the MAX

as it was presented to airlines. On its website, BOEING represented to airlines that “as you build

your 737 MAX fleet, millions of dollars will be saved because of its commonality with the Next-

Generation 737.” 25

       61.     Due to BOEING’s representations regarding the MAX’s commonality with the

737NG, pilots have reported that they were given just 56 minutes of training on an iPad about the

differences between the new BOEING MAX planes and the older 737s. The MCAS system was

not discussed during this training.

       62.     With simulators for the new aircraft unavailable at the time the 737 MAX was

pressed into service, pilots with United Airlines put together their own 13-page guide to the 737




       23
          Id.
       24
          https://www.newyorker.com/news/our-columnists/how-did-the-faa-allow-the-boeing-
737-max-to-fly
       25
          https://www.seattletimes.com/business/boeing-aerospace/failed-certification-faa-
missed-safety-issues-in-the-737-max-system-implicated-in-the-lion-air-crash/
                                               19
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MAX, but even this guide failed to mention the MCAS, leaving pilots unprepared to deal with a

sudden and unexpected dive by the automated systems in the aircraft. 26

       63.     American Airlines pilot union representative and 737 pilot, Dennis Tajer,

explained: “When you find out that there are systems on it that are wildly different that affect the

performance of the aircraft, having a simulator is part of a safety culture…It can be the difference

between a safe, recoverable flight and one that makes the newspapers.” 27


       H.      LION AIR FLIGHT JT 610 CRASHES AFTER PILOTS EXPERIENCE A
               FLIGHT CONTROL ISSUE

       64.     On October 29, 2018, Lion Air flight JT 610 (“Flight 610”) departed Jakarta,

Indonesia. Shortly after takeoff, the pilots complained of flight control issues as the plane

repeatedly pitched down despite the pilots’ efforts to climb. The pilots reported unreliable airspeed

and altitude readings. In the audio recordings from the cockpit, the rattle of a stick shaker can be

heard, a device used to alert pilots of a potential stall, which can occur when a plane ascends too

quickly.

       65.     The pilots requested permission to return to Jakarta, which was granted, but the

plane did not return. Satellite data showed the plane rising and falling repeatedly – more than 20

times – as the pilots struggled to wrest control back from the automated systems. Within just 12

minutes of taking off, Flight 610 crashed into the Java Sea, killing all 189 people onboard.

       66.     The cockpit voice recording recovered from the wreckage revealed that while the

plane danced perilously across the sky, one of the pilots flipped through a technical manual in an




       26
           https://www.nytimes.com/2019/03/16/business/boeing-max-flight-simulator-ethiopia-
lion-air.html
        27
           Id.
                                                 20
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attempt to identify the problem while the other pilot prayed. 28 The pilots appeared unaware of the

MCAS and its potential role in overriding their manual controls. 29

        67.      Preliminary analysis of the crash and data obtained from the plane’s flight data

recorder (FDR) show that one of the AOA sensors produced a reading that was at least 20 degrees

different from the other AOA sensor as the plane took off and began its climb. This strongly

suggests that a malfunction in the AOA sensor feeding information to the MCAS triggered an

unwarranted activation of the MCAS system at low altitudes, causing the plane’s nose to pitch

down.

        I.       BOEING FAILED TO TAKE NECESSARY ACTION

        68.      Following the tragic crash of Lion Air Flight 610, BOEING knew or had reason to

suspect that a malfunction in the AOA sensor and MCAS may have been responsible. The FAA

issued an Emergency Airworthiness Directive (“AD”) on November 7, 2018 identifying the

potential danger presented by the flight control system, but not providing clear instruction on what

pilots should do in the event of an AOA failure:


         “This AD was prompted by analysis performed by the manufacturer showing that
        if an erroneously high single angle of attack (AOA) sensor input is received by the
        flight control system, there is a potential for repeated nose-down trim commands
        of the horizontal stabilizer. We are issuing this AD to address this potential
        resulting nose-down trim, which could cause the flight crew to have difficulty
        controlling the airplane, and lead to excessive nose-down altitude, significant
        altitude loss, and possible impact with terrain.”


        69.      The flight path of Lion Air flight 610 suggests that the malfunctioning AOA sensor

and nose-down commands were a factor in the crash:




        28
             https://www.nytimes.com/2019/03/20/world/africa/ethiopian-airlines-boeing.html
        29
             https://www.nytimes.com/2019/03/20/world/asia/lion-air-crash-boeing.html
                                                 21
    Case: 1:19-cv-02839 Document #: 1 Filed: 04/29/19 Page 25 of 51 PageID #:25




       70.     BOEING issued the Airworthiness Directive and began investigating a software

patch to address the issue, but did not insist on further training of pilots to deal with the defective

AOA sensor or MCAS software. BOEING also downplayed the significance of the threat

presented by the MCAS and did not call for any aggressive action to prevent further incidents.

       71.     BOEING has maintained that the failure of the MCAS could be handled in the

same way as a standard “stabilizer runaway,” a malfunction which occurs when the Trimmable

Horizontal Stabilizer (THS) on the aircraft tail fails to stop at the selected position and continues

to deflect up or down.

       72.     Pilots and aviation experts have challenged BOEING’s characterization because

the MCAS failure does not behave like a runaway stabilizer. First, with a runaway stabilizer, there

is continuous uncommanded movement of the tail. In contrast, the movement of the tail is not

continuous in a MCAS failure: pilots are able to counter the nose down movement, only to have


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the MCAS move the tail once again. Second, the MCAS alters the control column response to the

stabilizer movement. Pulling back on the column normally interrupts any stabilizer nose-down

movement, but with MCAS operating that control column function is disabled. 30

       73.     BOEING’s attempts to deflect blame onto purportedly poorly trained pilots

wrongfully minimizes BOEING’s responsibility for these crashes. It is foreseeable that pilots

would be confused by MCAS’ control over the 737 MAX 8 as the system’s nose-down commands

were different from a common stabilizer problem and because pilots were not told the MCAS

existed or how it functioned. When seconds matter, the confusion caused by BOEING’s defective

and unsafe design, and failure to inform pilots, is the difference between life and death.

       74.     Both before and after the Lion Air crash, several pilots anonymously submitted

complaints on the Aviation Safety Reporting System (“ASRS”) which described similar flight

control issues and unanticipated dives with the 737 MAX 8 aircraft. One such report submitted by

a pilot in November 2018 – after the Lion Air crash and before the Ethiopian Airlines crash –

describes the pilot’s reaction to learning of the MCAS system:


       “I think it is unconscionable that a manufacturer, the FAA, and the airlines
       would have pilots flying an airplane without adequately training, or even
       providing available resources and sufficient documentation to understand the
       highly complex systems that differentiate this aircraft from prior models. The
       fact that this airplane requires such jury rigging to fly is a red flag. Now we know
       the systems employed are error prone–even if the pilots aren’t sure what those
       systems are, what redundancies are in place, and failure modes.

       I am left to wonder: what else don’t I know? The Flight Manual is inadequate
       and almost criminally insufficient. All airlines that operate the MAX must insist
       that Boeing incorporate ALL systems in their manuals.”




       30
         See https://www.seattletimes.com/business/boeing-aerospace/failed-certification-faa-
missed-safety-issues-in-the-737-max-system-implicated-in-the-lion-air-crash/
                                                 23
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       75.     Shortly after Flight 610 crashed, and after learning of numerous complaints

regarding similar close calls, BOEING knew that hundreds of the of its 737 MAX 8 aircraft were

still in use carrying passengers all over the globe, which presented a substantial risk that a similar

incident could occur without appropriate and immediate intervention.

       76.     Despite this knowledge and the gravity of the risks presented to passengers, crew,

and the public at large from imperiled airplanes flying overhead, BOEING consciously and

intentionally failed to act, and/or acted without the urgency commensurate with the risk of harm

presented by its defective and dangerous aircraft.

       77.     Instead, BOEING kept a keen eye on the record revenue the 737 MAX 8 was

generating and the backlog of orders it had yet to fill. Just a few months after sharing condolences

for the victims of Lion Air Flight 610, BOEING’s twitter account posted the following:




       78.     PLAINTIFF is informed and believes and on such information and belief alleges

that BOEING chose not to respond to the Flight 610 crash with the appropriate degree of urgency

or with appropriate safety steps because it feared doing so would result in financial loss to


                                                 24
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BOEING if airlines grounded their aircraft or had to retrain their pilots. Instead, motivated by

profit, BOEING downplayed the danger presented by its defective and dangerous aircraft, creating

a false sense of security and ensuring that the 737 MAX 8 would still be utilized to carry passengers

despite the presence of the defective and dangerous AOA sensor and MCAS.

       J.      THE FAA DOWNPLAYED THE SERIOUS SAFETY RISK IT KNEW
               EXISTED AFTER THE LION AIR FLIGHT 610 CRASH AND PLAINTIFF
               RELIED ON THIS TO HER DETRIMENT
       79.     The FAA aided and abetted BOEING in this scheme to downplay the clear and

present danger to the public presented by BOEING’s dangerous and defective aircraft because

BOEING shared a close relationship with the FAA, and the federal government generally, such

that the FAA consciously and intentionally turned a blind eye to BOEING’s reckless conduct.

       80.     On November 7, 2018, at 7:19 AM, the FAA posted the following warning to the

public on its Twitter Feed. This warning purposefully omits the word “Emergency” when

describing the FAA directive, and it also presents no language indicating any safety risk or hazard

associated with continued flight of the 737 MAX 8 or with being a passenger on a 737 MAX 8.




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       81.     Over five hours later, the FAA posted a different and new warning to the public on

its Twitter Feed. Recognizing its negligent, reckless, and/or purposeful omission of the word

“emergency” from the first post, this Twitter post made sure to include the term “emergency”

twice. This post provided somewhat more information to the public, but still fell severely short of

informing the public of any serious safety risk and misled the public as to the nature and character

of the problem, the level of risk associated with the problem, as well as the action necessary to

fully remediate the problem. The post presented the hazard in the 737 MAX 8 as if any airline and

pilot could easily remediate the hazard by a simple revision to “the airplane flight manual” which

all “operators have three days to revise,” lulling the public into a false sense of security that all

known safety hazards with the 737 MAX 8 were insignificant and had been remediated, and that

it was safe for passenger transportation.




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       82.     To make matters worse, the FAA posted a media release to its website seven days

later on November 14, 2018, titled “FAA Statement on Boeing Model 737-8 and -9 Airplanes.”

The FAA took a step backward and again omitted the word “emergency” entirely from the

statement. It also failed to inform the public of any serious safety risk and misled the public as to

the nature and character of the problem, the level of risk associated with the problem, as well as

the action necessary to fully remediate the problem. It also made a further, affirmative statement

aimed at inducing the public to believe safety concerns with the 737 MAX 8 were insignificant

and not serious by concluding the media release in the following manner: “The FAA is not doing

a safety probe separate from the ongoing Lion Air Accident investigation of which we, the NTSB

and Indonesian officials are a part.” (emphasis added). Notably, this “FAA Statement” still appears

on the “News and Updates” portion of the FAA website.




       83.     The close relationship between the FAA and BOEING is clear from the

connections present and former BOEING executives have cultivated. After Lion Air Flight 610
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crashed and at the very moment that the FAA should have been providing adequate, transparent,

and sufficient public safety advisories and warnings regarding the 737 MAX 8, former BOEING

executive, Patrick Shanahan was elevated to Acting Secretary of Defense. Following her

resignation from the post of United States Ambassador to the United Nations, Nikki Haley, is

slated to join BOEING’s board of directors. BOEING reportedly donated $1 million to the

President of the United States’ inauguration. It has also been reported BOEING’s CEO personally

called the President following the deadly Flight 610 and Flight 302 crashes to advocate against the

grounding of the 737 MAX. 31

       84.     DECEDENT and other passengers on Flight 302 relied on these media posts by

the FAA to their detriment, duped into a false sense of security about riding on a 737 MAX 8.


       K.      ETHIOPIAN AIRLINES FLIGHT 302 CRASHES KILLING ALL 157
               PEOPLE ON BOARD

       85.     On March 10, 2019, Flight 302 took off from Addis Ababa towards its destination

of Nairobi, Kenya. Within one minute of its departure, the pilot calmly radioed that he was having

flight control problems. Within three minutes, now panicked, the pilot requested permission to

return back to Addis Ababa. The plane was accelerating abnormally and oscillating up and down.

Shortly thereafter, all communication with Flight 302 stopped and the plane violently crashed into

a field, killing all 157 people aboard, including DECEDENT.




       31
        See https://www.vox.com/policy-and-politics/2019/3/13/18263719/boeing-ceo-dennis-
muilenburg-trump-tweet-call
                                                28
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       86.      The similarity between Flight 302 and the Flight 610 and data released to date

suggests that both aircraft experienced an erroneous AOA reading and activation of the MCAS.

On Flight 302, the aircraft’s nose began to pitch down just 450 feet above the ground. The jack

screws from the horizontal tail stabilizer were recovered from both crashes and both showed that

the planes had been oriented in a dive with the nose pointing down. Both pilots reported flight

control issues and could not maintain a steady altitude or speed with similarly erratic flight paths

before crashing.


       The following side-by-side comparison reveals the striking similarities between the two

doomed aircraft in changes in vertical speed:




       87.      Regulators finally decided to ground the 737 MAX 8 aircraft in the wake of the

Flight 302 crash to allow for a MCAS software upgrade and safety assessment to be conducted.

The Department of Transportation, with assistance from the FBI, are now investigating the MAX’s

certification process, a federal grand jury probe has been empaneled, and Congressional hearings

are underway.


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        88.    Whistleblowers have now come forward reporting that safety inspectors with the

FAA, including those in the Aircraft Evaluation Group (AEG) responsible for evaluating the safety

of the 737 MAX 8, lacked the proper training and certifications to do their jobs. To make matters

worse, information obtained from whistleblowers purportedly indicates that the FAA was aware

that its inspectors lacked proper training and certification as early as August 2018, well before the

crashes of Flight 610 and Flight 302.

                                 V.     CLAIMS FOR RELIEF


                                             COUNT I
                                           NEGLIGENCE
                                      (THE BOEING COMPANY)

        89.    PLAINTIFF incorporates and re-alleges each of the paragraphs set forth above as

though fully set forth herein.

        90.    At all relevant times hereinabove set forth, Defendant BOEING was the designer,

manufacturer, distributor and/or seller of the BOEING 737 MAX 8 aircraft. Defendant BOEING

was, at all times relevant, in the business of designing, testing, manufacturing, selling, assembling,

building, distributing, marketing, and/or inspecting aircraft as suitable and safe for passenger air

transportation, including the subject BOEING 737 MAX 8 that crashed in Ethiopia on March 20,

2019.

        91.    At all relevant times hereinabove set forth, Defendant BOEING operated,

supervised, managed, and/or oversaw the training facility that trained Ethiopian Airlines’ pilots to

fly the BOEING 737 MAX 8, and knew or should have known of the unfitness of Ethiopian

Airlines pilots’ to safely operate the BOEING 737 MAX 8 for passenger air travel.

        92.    At all times hereinabove set forth, BOEING breached its duty of care to

DECEDENT as a passenger aboard Flight 302 with respect to the design, manufacture, inspection,


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testing, assembly, certification, distribution, and/or sale of a safe, airworthy aircraft; including the

failure to train, instruct, and/or issue advisory warnings necessary to assure the safe operation,

control, management, and/or maintenance of the aircraft. BOEING’s acts and/or omissions

include, but are not limited to the following:

       a.      designing, manufacturing, assembling, and/or certifying an aircraft with an anti-

               stall system controlled by a single AOA sensor which was susceptible to failure

               without redundant systems;

       b.      designing, manufacturing, assembling, and/or certifying an aircraft with a flight

               control system susceptible to erroneous information from the AOA sensor, and

               failing to install AOA indicators and/or AOA disagree lights as standard features

               rather than optional upgrades;

       c.      designing, manufacturing, assembling, and/or certifying an aircraft with a flight

               control system that would initiate a dangerous automated dive without any

               command from a pilot and without a means to promptly override the automated

               dive;

       d.      marketing and selling the 737 MAX 8 as an analog to BOEING’s 737NG to

               consciously and intentionally induce airlines to avoid the time-consuming

               retraining of airline pilots with the knowledge that the MAX 8 contained a new

               and potentially dangerous MCAS automated flight control system;

       e.      failing to provide adequate warning with regard to the 737 MAX 8’s MCAS and

               the risk of an automated dive without any command from a pilot, or clear

               instruction to promptly override such an MCAS automated dive;

       f.      failing to conduct a thorough and accurate safety assessment of the aircraft,

               including BOEING’s failure in its safety assessment to account for the degree to

                                                  31
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              which the MCAS could move the horizontal stabilizer of the aircraft and failure to

              account for the resetting of the automated dive after each command from a pilot;

       g.     failing to properly train pilots on the new automated MCAS systems on the 737

              MAX 8;

       h.     failing to properly train pilots to identify an AOA sensor failure and MCAS input;

       i.     failing to properly train pilots to disengage the stabilizer trim motor on the 737

              MAX 8 in the event of an AOA sensor failure or unanticipated dive;

       j.     designing, assembling, and distributing a flight manual that did not warn of the

              risks presented by the MCAS, faulty AOA sensors, or automated dives;

       k.     designing, manufacturing, assembling, and/or certifying an airplane flight manual

              that failed to provide clear instruction or procedures on how to promptly override

              an automated MCAS dive;

       l.     failing to promptly issue a software patch to address the risk of malfunctioning

              AOA sensors and automated MCAS dives following the October 29, 2018 crash

              of Lion Air Flight JT 610;

       m.     failing to ground all 737 MAX 8 aircraft following the crash of Lion Air Flight JT

              610 until such a software patch and/or other safety procedures could be

              implemented;

       n.     failing to properly warn pilots, airlines, and the public of the risk of

              malfunctioning AOA sensors and automated MCAS dives following the crash of

              Lion Air Flight JT 610.

       93.    As a direct and legal result of Defendant BOEING’s negligence, carelessness,

gross negligence, recklessness, and/or otherwise wrongful acts and/or omissions hereinabove set

forth, DECEDENT died in the crash of Flight 302.

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       94.     As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, DECEDENT suffered pre-impact injury and death, including fear of impending and

imminent death, and PLAINTIFF has been damaged by the death of DECEDENT.

       95.     As a direct and legal result of the wrongful acts and/or omissions of Defendant

BOEING, hereinabove alleged, PLAINTIFF suffered and continues to suffer the loss of love,

society, solace, companionship, comfort, care, assistance, protection, affection, and/or moral

support from DECEDENT, as well as other pecuniary injuries including grief, sorrow, and mental

suffering in an amount to be determined at trial.

       96.     As a further direct and legal result of the wrongful conduct of BOEING set forth

above, PLAINTIFF incurred funeral and/or burial expenses and/or related medical expenses in

an amount according to proof at trial.

       97.     As a further direct and legal result of the wrongful conduct of BOEING set forth

above, PLAINTIFF suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       98.     The potential harm to airline passengers, pilots, crews, and the public from the 737

MAX 8 was objectively foreseeable both in nature and in scope and were subjectively known to

BOEING for all of the aforementioned reasons, including but not limited to: BOEING’s own

safety assessment of the AOA sensor and MCAS during development of the 737 MAX 8 which

revealed potential problems with the system; the evidence that flight control issues caused the

crash of Lion Air Flight 610 and death of 189 people; complaints lodged by pilots in the ASRS

database regarding the performance of the MCAS, the lack of clear instruction and training, and

the incidence of unexpected MCAS dives and flight control issues; and BOEING’s identification

of a software upgrade to address problems with the AOA sensors and MCAS in the weeks and

months prior to the crash of Flight 302.

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       99.     As set forth above and as will be shown by proof, there is a high degree of certainty

that PLAINTIFF has suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and BOEING’s conduct. A high degree of moral

blame is attached to BOEING’s conduct, and the policy of preventing future harm justifies both

the recognition of the existence of a duty of care owed by BOEING to PLAINTIFF and the

imposition of all damages described above.

       100.    Based on the foregoing, BOEING acted willfully, wantonly, with oppression,

fraud, malice, and/or with a knowing, conscious disregard for the rights and/or safety of others,

such that PLAINTIFF requests that the trier of fact, in the exercise of sound discretion, award

PLAINTIFF additional damages for the sake of example and sufficient to punish BOEING, for

its despicable conduct, in an amount reasonably related to PLAINTIFF’s actual damages and

BOEING’s financial condition, yet sufficiently large enough to be an example to others and to

deter BOEING and others from engaging in similar conduct in the future.

                                        COUNT II
                                 BREACH OF WARRANTY
                                 (THE BOEING COMPANY)

       101.    PLAINTIFF incorporates and re-alleges each of the paragraphs set forth above as

though fully set forth herein.

       102.    BOEING was the designer, manufacturer, distributor and/or seller of the Boeing

737 MAX 8, and/or its component parts, involved in the subject crash.

       103.    Prior to the crash of Flight 302, BOEING expressly and/or impliedly warranted

and represented that the subject BOEING 737 MAX 8 aircraft, including its component parts and

instruments, and in conjunction with the instructions and warnings given by BOEING, was

airworthy, of merchantable quality, both fit and safe for the purpose of commercial air travel for



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which it was designed, intended and used. Additionally, BOEING further warranted that the

subject aircraft, and its component parts, was free from all defects.

       104.    BOEING breached said warranties in that the subject aircraft was not airworthy,

of merchantable quality, or fit and safe for the purposes for which it was designed, intended and

used, and free from all defects as set forth above. The aircraft, and its component parts, were in

substantially similar condition to its original condition at delivery to ETHOPIAN AIRLINES.

       105.    DECEDENT, as a passenger of Flight 302, was an intended third-party beneficiary

of BOEING’s warranties that Flight 302 (the BOEING 737 MAX 8 and its component parts) was

airworthy, of merchantable quality, both fit and safe for the purposes for which it was designed,

intended and used, and free from all defects.

       106.    DECEDENT reasonably relied on these warranties to DECEDENT’s detriment.

       107.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, DECEDENT suffered pre-impact injury and death, including fear of impending and

imminent death, and PLAINTIFF has been damaged by the death of DECEDENT.

       108.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

BOEING, hereinabove alleged, PLAINTIFF suffered and continues to suffer the loss of love,

society, solace, companionship, comfort, care, assistance, protection, affection, and/or moral

support from DECEDENT, as well as other pecuniary injuries including grief, sorrow, and mental

suffering in an amount to be determined at trial.

       109.    As a further direct and legal result of the wrongful conduct of BOEING set forth

above, PLAINTIFF incurred funeral and/or burial expenses and/or related medical expenses in

an amount according to proof at trial.




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       110.    As a further direct and legal result of the wrongful conduct of BOEING set forth

above, PLAINTIFF suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       111.    The potential harm to airline passengers, pilots, crews, and the public from the 737

MAX 8 was objectively foreseeable both in nature and in scope and was subjectively known to

BOEING for all of the aforementioned reasons, including but not limited to: BOEING’s own

safety assessment of the AOA sensor and MCAS during development of the 737 MAX 8 which

revealed potential problems with the system; the evidence that flight control issues caused the

crash of Lion Air Flight 610 and death of 189 people; complaints lodged by pilots in the ASRS

database regarding the performance of the MCAS, the lack of clear instruction and training, and

the incidence of unexpected MCAS dives and flight control issues; and BOEING’s identification

of a software upgrade to address problems with the AOA sensors and MCAS in the weeks and

months prior to the crash of Flight 302.

       112.    As set forth above and as will be shown by proof, there is a high degree of certainty

that PLAINTIFF has suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and BOEING’s conduct. A high degree of moral

blame is attached to BOEING’s conduct, and the policy of preventing future harm justifies both

the recognition of the existence of a duty of care owed by BOEING to all PLAINTIFFS and the

imposition of all damages described above.

       113.    Based on the foregoing, BOEING acted willfully, wantonly, with oppression,

fraud, malice, and/or with a knowing, conscious disregard for the rights and/or safety of others,

such that PLAINTIFF requests that the trier of fact, in the exercise of sound discretion, award

PLAINTIFF additional damages for the sake of example and sufficient to punish BOEING for

its despicable conduct, in an amount reasonably related to PLAINTIFF’s actual damages and

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BOEING’s financial condition, yet sufficiently large enough to be an example to others and to

deter BOEING and others from engaging in similar conduct in the future.

                                       COUNT III
                                    STRICT LIABILITY
                                 (THE BOEING COMPANY)

       114.    PLAINTIFF incorporates and re-alleges each of the paragraphs set forth above as

though fully set forth herein.

       115.    BOEING designed, manufactured, distributed and/or sold the BOEING 737 MAX

8, and its components parts, involved in the incident. DEFENDANT was in the business of

designing, testing, manufacturing, selling, assembling, building, distributing, marketing, and/or

inspecting aircraft as suitable for passenger air transportation, including the subject BOEING 737

MAX 8, and its component parts, that crashed in Ethiopia on March 10, 2019.

       116.    At all times relevant hereinabove set forth, the subject BOEING 737 MAX 8

aircraft, and its component parts, was being operated by Ethiopian Airlines and used for the

purposes of which it was manufactured, designed, inspected, sold and intended to be used, in a

manner reasonably foreseeable to BOEING.

       117.    At all times relevant hereinabove set forth, the subject BOEING 737 MAX 8, and

its component parts, were defective, dangerous, unsafe, and not airworthy by reason of BOEING’s

defective manufacture, design, warning systems, inspections, testing, service, and/or maintenance

of the subject aircraft and its component parts, as set forth above. The aircraft, and its component

parts, were in substantially similar condition to its original condition at delivery to Ethiopian

Airlines.

       118.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, DECEDENT suffered pre-impact injury and death, including fear of impending and

imminent death, and PLAINTIFF has been damaged by the death of DECEDENT.

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       119.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

BOEING, hereinabove alleged, PLAINTIFF suffered and continues to suffer the loss of love,

society, solace, companionship, comfort, care, assistance, protection, affection, and/or moral

support from DECEDENT, as well as other pecuniary injuries including grief, sorrow, and mental

suffering in an amount to be determined at trial.

       120.    As a further direct and legal result of the wrongful conduct of BOEING set forth

above, PLAINTIFF incurred funeral and/or burial expenses and/or related medical expenses in

an amount according to proof at trial.

       121.    As a further direct and legal result of the wrongful conduct of BOEING set forth

above, PLAINTIFF suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       122.    The potential harm to airline passengers, pilots, crews, and the public from the 737

MAX 8 was objectively foreseeable both in nature and in scope and were subjectively known to

BOEING for all of the aforementioned reasons, including but not limited to: BOEING’s own

safety assessment of the AOA sensor and MCAS during development of the 737 MAX 8 which

revealed potential problems with the system; the evidence that flight control issues caused the

crash of Lion Air Flight 610 and death of 189 people; complaints lodged by pilots in the ASRS

database regarding the performance of the MCAS, the lack of clear instruction and training, and

the incidence of unexpected MCAS dives and flight control issues; and BOEING’s identification

of a software upgrade to address problems with the AOA sensors and MCAS in the weeks and

months prior to the crash of Flight 302.

       123.    As set forth above and as will be shown by proof, there is a high degree of certainty

that PLAINTIFF has suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and BOEING’s conduct. A high degree of moral

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blame is attached to BOEING’s conduct, and the policy of preventing future harm justifies both

the recognition of the existence of a duty of care owed by BOEING to PLAINTIFF and the

imposition of all damages described above.

       124.    Based on the foregoing, BOEING acted willfully, wantonly, with oppression,

fraud, malice, and/or with a knowing, conscious disregard for the rights and/or safety of others,

such that PLAINTIFF requests that the trier of fact, in the exercise of sound discretion, award

PLAINTIFF additional damages for the sake of example and sufficient to punish BOEING for

its despicable conduct, in an amount reasonably related to PLAINTIFF’s actual damages and

BOEING’s financial condition, yet sufficiently large enough to be an example to others and to

deter BOEING and others from engaging in similar conduct in the future.

                                        COUNT IV
                                    FAILURE TO WARN
                                 (THE BOEING COMPANY)

       125.    PLAINTIFF incorporates and re-alleges each of the paragraphs set forth above as

though fully set forth herein.

       126.    Defendant BOEING designed, manufactured, distributed, and/or sold the

BOEING 737 MAX 8 involved in the incident. Defendant BOEING was in the business of

designing, testing, manufacturing, selling, assembling, building, distributing, marketing, and/or

inspecting aircraft as suitable for passenger air transportation, including the subject BOEING 737

MAX 8 that crashed in Ethiopia on March 10, 2019.

       127.    At all times relevant hereinabove set forth, the subject BOEING 737 MAX 8

aircraft was being operated by Ethiopian Airlines and used for the purposes of which it was

manufactured, designed, inspected, sold, and intended to be used, in a manner reasonably

foreseeable to Defendant BOEING.



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        128.    At all times relevant hereinabove set forth, the subject BOEING 737 MAX 8 was

defective, dangerous, unsafe, and not airworthy by reason of Defendant BOEING’s defective

manufacture, design, warning systems, inspections, testing, service, and/or maintenance of the

subject aircraft as set forth above.

        129.    At all times relevant hereinabove set forth, BOEING had knowledge that the

subject BOEING 737 MAX 8 was defective, dangerous, unsafe, and not airworthy, and in

particular, BOEING had knowledge of the unreasonably unsafe design of the AOA sensor and

automated MCAS, as well as the potential life and death risks of such a failure in these systems.

        130.    At all times relevant hereinabove set forth, the risks of failure of the BOEING 737

MAX 8 due the aircraft’s unreasonably dangerous and defective design presented a substantial

danger when the aircraft is used or misused in an intended or reasonably foreseeable way.

        131.    Ordinary consumers, including but not limited to airlines, flight crew, and

passengers, would not have recognized the potential risks presented by the aircraft’s unreasonably

dangerous and defective design.

        132.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, DECEDENT suffered pre-impact injury and death, including fear of impending and

imminent death, and PLAINTIFF has been damaged by the death of DECEDENT.

        133.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

BOEING, hereinabove alleged, PLAINTIFF suffered and continues to suffer the loss of love,

society, solace, companionship, comfort, care, assistance, protection, affection, and/or moral

support from DECEDENT, as well as other pecuniary injuries including grief, sorrow, and mental

suffering in an amount to be determined at trial.




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       134.    As a further direct and legal result of the wrongful conduct of BOEING set forth

above, PLAINTIFF incurred funeral and/or burial expenses and/or related medical expenses in

an amount according to proof at trial.

       135.    As a further direct and legal result of the wrongful conduct of BOEING set forth

above, PLAINTIFF suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       136.    The potential harm to airline passengers, pilots, crews, and the public from the 737

MAX 8 was objectively foreseeable both in nature and in scope and were subjectively known to

BOEING for all of the aforementioned reasons, including but not limited to: BOEING’s own

safety assessment of the AOA sensor and MCAS during development of the 737 MAX 8 which

revealed potential problems with the system; the evidence that flight control issues caused the

crash of Lion Air Flight 610 and death of 189 people; complaints lodged by pilots in the ASRS

database regarding the performance of the MCAS, the lack of clear instruction and training, and

the incidence of unexpected MCAS dives and flight control issues; and BOEING’s identification

of a software upgrade to address problems with the AOA sensors and MCAS in the weeks and

months prior to the crash of Flight 302.

       137.    As set forth above and as will be shown by proof, there is a high degree of certainty

that PLAINTIFF has suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and BOEING’s conduct. A high degree of moral

blame is attached to BOEING’s conduct, and the policy of preventing future harm justifies both

the recognition of the existence of a duty of care owed by BOEING to PLAINTIFF and the

imposition of all damages described above.

       138.    Based on the foregoing, BOEING acted willfully, wantonly, with oppression,

fraud, malice, and/or with a knowing, conscious disregard for the rights and/or safety of others,

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such that PLAINTIFF requests that the trier of fact, in the exercise of sound discretion, award

PLAINTIFF additional damages for the sake of example and sufficient to punish BOEING for

its despicable conduct, in an amount reasonably related to PLAINTIFF’s actual damages and

BOEING’s financial condition, yet sufficiently large enough to be an example to others and to

deter BOEING and others from engaging in similar conduct in the future.


                                         COUNT V
                                    CIVIL CONSPIRACY
                                  (THE BOEING COMPANY)

       139.    PLAINTIFF incorporates and re-alleges each of the paragraphs set forth above as

though fully set forth herein.

       140.    Defendant BOEING entered into an agreement with the FAA, and its agents,

employees, and/or directors, and/or other persons and/or entities to accomplish by concerted action

either an unlawful purpose or a lawful purpose by unlawful means.

       141.    BOEING and its co-conspirators committed tortious and/or unlawful acts in

furtherance of this agreement, including but not limited to, deceiving the public as to the safety of

the 737 MAX 8 aircraft and its component parts and systems, certifying the aircraft and the MCAS

as safe based upon false and/or inaccurate information, failing to provide clear instruction in flight

manuals or informing pilots as to automated systems embedded in the 737 MAX 8 aircraft, denying

technical experts the necessary time or resources to thoroughly evaluate the 737 MAX 8 aircraft,

and compelling technical experts to certify the aircraft despite their concerns about the safety of

the 737 MAX 8, all in violation of applicable laws, regulations, and mandatory duties.

       142.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, DECEDENT suffered pre-impact injury and death, including fear of impending and

imminent death, and PLAINTIFF has been damaged by the death of DECEDENT.


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       143.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

BOEING, hereinabove alleged, PLAINTIFF suffered and continues to suffer the loss of love,

society, solace, companionship, comfort, care, assistance, protection, affection, and/or moral

support from DECEDENT, as well as other pecuniary injuries including grief, sorrow, and mental

suffering in an amount to be determined at trial.

       144.    As a further direct and legal result of the wrongful conduct of BOEING set forth

above, PLAINTIFF incurred funeral and/or burial expenses and/or related medical expenses in

an amount according to proof at trial.

       145.    As a further direct and legal result of the wrongful conduct of BOEING set forth

above, PLAINTIFF suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       146.    The potential harm to airline passengers, pilots, crews, and the public from the 737

MAX 8 was objectively foreseeable both in nature and in scope and were subjectively known to

BOEING for all of the aforementioned reasons, including but not limited to: BOEING’s own

safety assessment of the AOA sensor and MCAS during development of the 737 MAX 8 which

revealed potential problems with the system; the evidence that flight control issues caused the

crash of Lion Air Flight 610 and death of 189 people; complaints lodged by pilots in the ASRS

database regarding the performance of the MCAS, the lack of clear instruction and training, and

the incidence of unexpected MCAS dives and flight control issues; and BOEING’s identification

of a software upgrade to address problems with the AOA sensors and MCAS in the weeks and

months prior to the crash of Flight 302.

       147.    As set forth above and as will be shown by proof, there is a high degree of certainty

that PLAINTIFF has suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and BOEING’s conduct. A high degree of moral

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blame is attached to BOEING’s conduct, and the policy of preventing future harm justifies both

the recognition of the existence of a duty of care owed by BOEING to PLAINTIFF and the

imposition of all damages described above.

       148.    Based on the foregoing, BOEING, acted willfully, wantonly, with oppression,

fraud, malice, and/or with a knowing, conscious disregard for the rights and/or safety of others,

such that PLAINTIFF requests that the trier of fact, in the exercise of sound discretion, award

PLAINTIFF additional damages for the sake of example and sufficient to punish BOEING, for

its despicable conduct, in an amount reasonably related to PLAINTIFF’s actual damages and

BOEING’s financial condition, yet sufficiently large enough to be an example to others and to

deter BOEING and others from engaging in similar conduct in the future.

                                     COUNT VI
                                    NEGLIGENCE
                             (ROSEMOUNT AEROSPACE, INC.)

       149.    PLAINTIFF incorporates and re-alleges each of the paragraphs set forth above as

though fully set forth herein.

       150.    At all relevant times hereinabove set forth, Defendant ROSEMOUNT owed a duty

to the occupants of BOEING’s 737 MAX 8 aircraft and the general public, including the

DECEDENT, to exercise reasonable care to properly develop, design, engineer, test, manufacture,

produce, process, supply, deliver, monitor, market, label, adequately warn, recommend, advertise,

and/or sell angle of attack sensors, and/or refrain from introducing area of attack sensors into the

stream of commerce and for the use in 737 MAX 8 aircraft, including the subject aircraft.

       151.    The defective conditions in the Angle of Attack sensor, as discussed above, and the

consequent crash of Flight 302, were legally caused by the negligence, gross negligence,

wrongdoing, tortious conduct, careless acts, and omissions of Defendant ROSEMOUNT in the

development, design, engineering, testing, manufacturing, production, processing, supplying,

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delivery, monitoring, marketing, labeling, and selling, and ROSEMOUNT’s failure to warn and

failure to take remedial appropriate remedial action with respect to any and all known dangerously

defective conditions.

       152.    As a direct and legal result of Defendant ROSEMOUNT’s negligence,

carelessness, gross negligence, recklessness, and/or otherwise wrongful acts and/or omissions

hereinabove set forth, DECEDENT died in the crash of Flight 302.

       153.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, DECEDENT suffered pre-impact injury and death, including fear of impending and

imminent death, and PLAINTIFF has been damaged by the death of DECEDENT.

       154.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

ROSEMOUNT, hereinabove alleged, PLAINTIFF suffered and continues to suffer the loss of

love, society, solace, companionship, comfort, care, assistance, protection, affection, and/or moral

support from DECEDENT, as well as other pecuniary injuries including grief, sorrow, and mental

suffering in an amount to be determined at trial.

       155.    As a further direct and legal result of the wrongful conduct of ROSEMOUNT set

forth above, PLAINTIFF incurred funeral and/or burial expenses and/or related medical expenses

in an amount according to proof at trial.

       156.    As a further direct and legal result of the wrongful conduct of ROSEMOUNT set

forth above, PLAINTIFF suffered economic losses, including but not limited to the loss of

financial support, and/or the loss of household services in an amount according to proof of trial.

                                     COUNT VII
                                  STRICT LIABILITY
                             (ROSEMOUNT AEROSPACE, INC.)

       157.    PLAINTIFF incorporates and re-alleges each of the paragraphs set forth above as

though fully set forth herein.

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       158.    At all relevant times hereinabove set forth, Defendant ROSEMOUNT was the

designer, manufacturer, engineer, distributor, and/or seller of aerospace products, including Angle

of Attack sensors, who hold and have held themselves out to the public as having superior

knowledge, skill and expertise in the design, testing, engineering, manufacture, and distribution of

aerospace sensors for commercial aircraft and, in the course of its business, Defendant

ROSEMOUNT designed, tested, manufactured, engineered, and caused to be placed into the

stream of commerce, a product known as an Angle of Attack sensor for utilization in the BOEING

737 MAX 8 aircraft.

       159.    Defendant ROSEMOUNT expressly or impliedly warranted that the Angle of

Attack sensor was fit for its intended use in commercial aircraft, being free of defects in their

design and/or maintenance and, further, Defendant ROSEMOUNT marketed, sold, distributed,

and caused to be introduced into the stream of commerce by sale to Defendant BOEING. The

Angle of Attack sensor was in substantially similar condition to its original condition at delivery

to BOEING.

       160.    Defects in the Angle of Attack sensor were a legal cause of the subject air crash,

and the defects made the subject aircraft unreasonably dangerous for travel.

       161.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, DECEDENT suffered pre-impact injury and death, including fear of impending and

imminent death, and PLAINTIFF has been damaged by the death of DECEDENT.

       162.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

ROSEMOUNT, hereinabove alleged, PLAINTIFF suffered and continue to suffer the loss of

love, society, solace, companionship, comfort, care, assistance, protection, affection, and/or moral

support from DECEDENT, as well as other pecuniary injuries including grief, sorrow, and mental

suffering in an amount to be determined at trial.

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       163.    As a further direct and legal result of the wrongful conduct of ROSEMOUNT set

forth above, PLAINTIFF incurred funeral and/or burial expenses and/or related medical expenses

in an amount according to proof at trial.

       164.    As a further direct and legal result of the wrongful conduct of ROSEMOUNT set

forth above, PLAINTIFF suffered economic losses, including but not limited to the loss of

financial support, and/or the loss of household services in an amount according to proof of trial.

                                VI.     PRAYER FOR RELIEF

       WHEREFORE, PLAINTIFF prays for judgment against the DEFENDANTS and each of

them as follows:

       A.      For general damages in an amount according to proof at trial, and beyond the

               jurisdictional minimum of this Court;

       B.      For economic and property losses, in an amount according to proof at trial;

       C.      For damages for the Estate of KOSHA VAIDYA due to pre-impact injuries and

               losses;

       D.      For interest upon any judgment entered as provided by law;

       E.      For all costs of suit incurred herein;

       F.      For such other and further relief as the court may deem just and proper.

       WHEREFORE, PLAINTIFF prays for judgment against Defendant BOEING on Counts

I through V as follows:

       A.      Exemplary damages in an amount according to proof.

                                   VII.     JURY DEMAND

       PLAINTIFF demands a trial by jury as to all claims in this action.


Dated: April 29, 2019

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                                  s/ Robert A. Clifford
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